                     Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 1 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas

    JULIA HUBBARD and KAYLA GOEDINGHAUS                                )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. SA-23-CA-580-FB
                                                                       )
 TRAMMELL S. CROW, JR., et al. (see next page for                      )
             remainder of caption)                                     )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Richard Hubbard
                                           28827 Fine Road
                                           Marble Falls, Texas 78654




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew W. Schmidt (matt@schmidtlc.com)
                                           SCHMIDT LAW CORPORATION
                                           116A Main Street
                                           Tiburon, California 94920



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT , PHILIP J. DEVLIN


Date:          02/15/2024
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. SA-23-CA-580-FB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 3 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       WesternDistrict
                                                   __________  Districtofof__________
                                                                            Texas

    JULIA HUBBARD and KAYLA GOEDINGHAUS                            )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. SA-23-CA-580-FB
                                                                   )
 TRAMMELL S. CROW, JR., et al. (see next page for                  )
             remainder of caption)                                 )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Scott Brunson
                                           8801 Alderman Drive
                                           Austin, Texas 78747




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew W. Schmidt (matt@schmidtlc.com)
                                           SCHMIDT LAW CORPORATION
                                           116A Main Street
                                           Tiburon, California 94920



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT , PHILIP J. DEVLIN

                      02/15/2024
Date:
                                                                                        Signature of Clerk or Deputy Clerk
                       Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 4 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. SA-23-CA-580-FB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 5 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas

    JULIA HUBBARD and KAYLA GOEDINGHAUS                             )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. SA-23-CA-580-FB
                                                                    )
 TRAMMELL S. CROW, JR., et al. (see next page for                   )
             remainder of caption)                                  )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Philip Ecob
                                           2215 Cedar Springs Road, Apt. 1414
                                           Dallas, Texas 75201




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew W. Schmidt (matt@schmidtlc.com)
                                           SCHMIDT LAW CORPORATION
                                           116A Main Street
                                           Tiburon, California 94920



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT , PHILIP J. DEVLIN


Date:
             02/15/2024
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 6 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. SA-23-CA-580-FB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 7 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas

    JULIA HUBBARD and KAYLA GOEDINGHAUS                                )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. SA-23-CA-580-FB
                                                                       )
 TRAMMELL S. CROW, JR., et al. (see next page for                      )
             remainder of caption)                                     )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ralph Rogers
                                           28827 Fine Road
                                           Marble Falls, Texas 78654




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew W. Schmidt (matt@schmidtlc.com)
                                           SCHMIDT LAW CORPORATION
                                           116A Main Street
                                           Tiburon, California 94920



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT , PHILIP J. DEVLIN


Date:          02/15/2024
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 8 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. SA-23-CA-580-FB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas

    JULIA HUBBARD and KAYLA GOEDINGHAUS                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. SA-23-CA-580-FB
                                                                      )
 TRAMMELL S. CROW, JR., et al. (see next page for                     )
             remainder of caption)                                    )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Hynes
                                           7906 Beef Creek Drive
                                           Arlington, Texas 76001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew W. Schmidt (matt@schmidtlc.com)
                                           SCHMIDT LAW CORPORATION
                                           116A Main Street
                                           Tiburon, California 94920



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT , PHILIP J. DEVLIN

                02/15/2024
Date:
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 5:23-cv-00580-FB Document 281 Filed 02/15/24 Page 10 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. SA-23-CA-580-FB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
